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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                      :
                                               :
        v.                                     : Case Nos.        21-CR-175-1 (TJK)
                                               :                  21-CR-175-2 (TJK)
 ETHAN NORDEAN,                                :
 also known as “Rufio Panman,”                 :
                                               :
 JOSEPH BIGGS,                                 :
                     DEFENDANTS.               :


           GOVERNMENT’S INITIAL REPORT ON THE STATUS OF THE
         TRANSPORT OF DEFENDANTS TO THE DISTRICT OF COLUMBIA

       The United States of America, by and through the United States Attorney for the District

of Columbia, hereby provides an initial report on behalf of the United States Marshals Service

(“USMS”) regarding the transport to the District of Columbia of defendants Ethan Nordean and

Joseph Biggs. On January 21, 2022, the Court ordered the USMS to transport defendants Nordean

and Biggs to the District of Columbia (ECF 281). On February 8, 2022, the defendants were still

in their respective jurisdictions: Ethan Nordean remained detained in Seattle, Washington, and

Joseph Biggs remained detained in Seminole County, Florida. At the status hearing on February

8, 2022, the Court ordered the government to file a detailed response by February 9, 2022, on

behalf of USMS, explaining when the Court’s January 21, 2022, order would be complied with.

On February 9, 2022, the Court granted the government a two-day extension to February 11, 2022.

       In the interim period, counsel for the government has worked diligently to ascertain that

information. Based on representations from USMS personnel, the government understands that

defendant Nordean’s movement will begin on or around February 25, 2022. The USMS reports
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that defendant Nordean should be present in the District of Columbia in advance of the March 8,

2022, hearing.

       With respect to defendant Biggs, the government understands that his movement will begin

on or around February 23, 2022. The government expects that defendant Biggs will also be present

in the District of Columbia in advance of the March 8, 2022, hearing, but is awaiting confirmation

of that fact from USMS.

       As the Court knows, prisoner movement is a complex process, and the current protocols

related to COVID-19 have further complicated prisoner movement. The USMS is aware of the

Court’s January 21, 2022, order, and is also aware that the next status date in this case is scheduled

for March 8, 2022. The government intends to provide a further status update next week regarding

confirmation from the USMS that defendant Biggs is scheduled to arrive prior to the next status.

                                                     Respectfully submitted,

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                                                     United States Attorney
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